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          6                        IN THE UNITED STATES DISTRICT COURT
          7                             FOR THE DISTRICT OF ARIZONA
          8
          9    Michael Knaubert,                               No. CV 14-0158-PHX-SMM (SPL)
         10                         Plaintiff,
         11      vs.                                                    ORDER
         12
               Last Forced Medication Committee,
         13
                                    Defendant.
         14
         15            On January 27, 2014, Plaintiff Michael Knaubert, who is confined in the Arizona
         16    State Prison Complex-Eyman, filed a pro se civil rights Complaint pursuant to 42 U.S.C.
         17    § 1983 and an Application to Proceed In Forma Pauperis. In an April 22, 2014 Order,
         18    the Court granted the Application to Proceed and dismissed the Complaint because
         19    Plaintiff had failed to state a claim. The Court gave Plaintiff 30 days to file an amended
         20    complaint that cured the deficiencies identified in the Order.
         21            On April 28, 2014, Plaintiff filed a letter1 and another document, which was
         22    docketed as a Motion for Clarification (Doc. 16). On May 19, 2014, Plaintiff filed his
         23
         24
                       1
         25             As the Court told Plaintiff in the April 22 Order, it is improper for a party to
               communicate directly with court personnel. Simply mailing a letter to the Clerk of Court,
         26    the judge, or any court personnel is unacceptable. Any request for action by the Court
         27    must be in the form of a motion that complies with the Rules of Practice of the United
               States District Court for the District of Arizona (the Local Rules). Any future letters
         28    directed to the Clerk of Court, the judge, or any court personnel will be stricken from the
               record and will be returned to Plaintiff.

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          1    First Amended Complaint (Doc. 17).            The Court will dismiss the First Amended
          2    Complaint with leave to amend.
          3    I.        Statutory Screening of Prisoner Complaints
          4              The Court is required to screen complaints brought by prisoners seeking relief
          5    against a governmental entity or an officer or an employee of a governmental entity. 28
          6    U.S.C. § 1915A(a). The Court must dismiss a complaint or portion thereof if a plaintiff
          7    has raised claims that are legally frivolous or malicious, that fail to state a claim upon
          8    which relief may be granted, or that seek monetary relief from a defendant who is
          9    immune from such relief. 28 U.S.C. § 1915A(b)(1), (2).
         10              A pleading must contain a “short and plain statement of the claim showing that the
         11    pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2) (emphasis added). While Rule 8
         12    does not demand detailed factual allegations, “it demands more than an unadorned, the-
         13    defendant-unlawfully-harmed-me accusation.”          Ashcroft v. Iqbal, 556 U.S. 662, 678
         14    (2009). “Threadbare recitals of the elements of a cause of action, supported by mere
         15    conclusory statements, do not suffice.” Id.
         16              “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a
         17    claim to relief that is plausible on its face.’” Id. (quoting Bell Atlantic Corp. v. Twombly,
         18    550 U.S. 544, 570 (2007)). A claim is plausible “when the plaintiff pleads factual
         19    content that allows the court to draw the reasonable inference that the defendant is liable
         20    for the misconduct alleged.” Id. “Determining whether a complaint states a plausible
         21    claim for relief [is] . . . a context-specific task that requires the reviewing court to draw
         22    on its judicial experience and common sense.” Id. at 679. Thus, although a plaintiff’s
         23    specific factual allegations may be consistent with a constitutional claim, a court must
         24    assess whether there are other “more likely explanations” for a defendant’s conduct. Id.
         25    at 681.
         26              But as the United States Court of Appeals for the Ninth Circuit has instructed,
         27    courts must “continue to construe pro se filings liberally.” Hebbe v. Pliler, 627 F.3d 338,
         28    342 (9th Cir. 2010). A “complaint [filed by a pro se prisoner] ‘must be held to less


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          1    stringent standards than formal pleadings drafted by lawyers.’” Id. (quoting Erickson v.
          2    Pardus, 551 U.S. 89, 94 (2007) (per curiam)).
          3           If the Court determines that a pleading could be cured by the allegation of other
          4    facts, a pro se litigant is entitled to an opportunity to amend a complaint before dismissal
          5    of the action. See Lopez v. Smith, 203 F.3d 1122, 1127-29 (9th Cir. 2000) (en banc).
          6    Plaintiff’s First Amended Complaint will be dismissed for failure to state a claim, but
          7    because it may possibly be amended to state a claim, the Court will dismiss it with leave
          8    to amend.
          9    II.    First Amended Complaint
         10           In his five-count First Amended Complaint, Plaintiff names the following
         11    Defendants: Mertz, a mental health psych associate at SMU-1 and Eyman Complex-
         12    Cook; and John Does 1 through 9, all listed as “pychrist (sic) mental health” or “mental
         13    health psychrist (sic)” at SMU-1. Plaintiff seeks damages.
         14           In Count One, Plaintiff asserts a claim of retaliation and alleges the following
         15    facts: Defendant Mertz knew Plaintiff “was there for admin p[u]rpose and not for mental
         16    health.” Mertz was apparently caught falsifying paperwork and was “removed from his
         17    case load.” Mertz said, “I will put you in for forced medication” and refused to say on
         18    what grounds. Mertz was almost fired and given a second chance before “putting in for
         19    forced medication meds turned [Plaintiff] into a zombie.” Plaintiff was “there” until
         20    housing could be found for him. Plaintiff’s injuries consist of a delay of his filings in
         21    state courts, he was “put into binds,” and costs of over $100.00.
         22           In Count Two, Plaintiff asserts an access to the courts claim and alleges the
         23    following: Plaintiff wrote two separate writs of habeas corpus with different issues and
         24    gave them to the CO III to fax to the court. Plaintiff found out that the CO III was “a
         25    phony” and he “only got 1 phony reply denying action based on phony paper.”
         26           In Count Three, Plaintiff asserts a medical care claim and alleges the following:
         27    Plaintiff was given medication “for a problem that does not exist.” It turned Plaintiff into
         28    a zombie and he could barely think for himself.


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          1           In Count Four, Plaintiff alleges that he was denied a qualified legal representative
          2    of his choice.
          3           In Count Five, Plaintiff alleges that he was denied a competent lawyer or legal
          4    representative. The DOC Officer never talked to Plaintiff in private to explain the
          5    situation, to find out Plaintiff’s side of the story, or to verify Plaintiff’s facts, which are:
          6    (1) “housing problem not a mental health situation”; and (2) “had no mental health
          7    problems as put on paper every day. Like hearing no voices, no hallucinations, or not
          8    seeing things. This was put on paper by Lee Foxley. Yet the medication prescribed is for
          9    hearing voices.”
         10    III.   Failure to State a Claim
         11           To state a claim under § 1983, a plaintiff must allege facts supporting that (1) the
         12    conduct about which he complains was committed by a person acting under the color of
         13    state law and (2) the conduct deprived him of a federal constitutional or statutory right.
         14    Wood v. Ostrander, 879 F.2d 583, 587 (9th Cir. 1989). A plaintiff must also allege that
         15    he suffered a specific injury as a result of the conduct of a particular defendant and he
         16    must allege an affirmative link between the injury and the conduct of that defendant.
         17    Rizzo v. Goode, 423 U.S. 362, 371-72, 377 (1976).
         18           Also, although pro se pleadings are liberally construed, Haines v. Kerner, 404
         19    U.S. 519, 520-21 (1972), conclusory and vague allegations will not support a cause of
         20    action. Ivey v. Bd. of Regents of the Univ. of Alaska, 673 F.2d 266, 268 (9th Cir. 1982).
         21    Further, a liberal interpretation of a civil rights complaint may not supply essential
         22    elements of the claim that were not initially pled. Id.
         23           A.        Doe Defendants
         24           Plaintiff names nine Doe Defendants. As the Court advised Plaintiff in the May
         25    19 Order, Rule 10(a) of the Federal Rules of Civil Procedure requires the plaintiff to
         26    include the names of the parties in the action. As a practical matter, it is impossible in
         27    most instances for the United States Marshal or his designee to serve a summons and
         28    complaint or amended complaint upon an anonymous defendant.


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          1           The Ninth Circuit has held that where identity is unknown prior to the filing of a
          2    complaint, the plaintiff should be given an opportunity through discovery to identify the
          3    unknown defendants, unless it is clear that discovery would not uncover the identities, or
          4    that the complaint would be dismissed on other grounds. Wakefield v. Thompson, 177
          5    F.3d 1160, 1163 (9th Cir. 1999) (citing Gillespie v. Civiletti, 629 F.2d 637, 642 (9th Cir.
          6    1980)). Where the names of individual defendants are unknown at the time a complaint
          7    is filed, a plaintiff may refer to the individual unknown defendants as Defendant John (or
          8    Jane) Doe 1, John Doe 2, and so on, and allege facts to support how each particular Doe
          9    defendant violated the plaintiff’s constitutional rights. A plaintiff may thereafter use the
         10    discovery process to obtain the names of fictitiously named defendants whom he believes
         11    violated his constitutional rights and seek leave to amend to name those defendants.
         12           In this case, while Plaintiff has separated his list of Defendants into John Doe 1,
         13    John Doe 2, etc., he fails to allege facts connecting any of the Doe Defendants with an
         14    alleged violation of his constitutional rights. Accordingly, Defendants John Does 1
         15    through 9 are dismissed without prejudice.
         16           B.     Defendant Mertz and Count One
         17           The only other Defendant named by Plaintiff is Mertz, a “mental health psych
         18    associate.” The only mention of Mertz is in Count One, which Plaintiff designates as a
         19    retaliation claim. However, it is unclear how Mertz or anyone else retaliated against
         20    Plaintiff. Plaintiff alleges that Mertz knew Plaintiff “was there for admin p[u]rpose and
         21    not for mental health,” but Plaintiff does not explain what this means. Plaintiff alleges
         22    that Mertz was “caught for false paperwork lying had him removed from his case load,”
         23    but these vague allegations are also unclear. Finally, Plaintiff alleges that Mertz said, “I
         24    will put you in for forced medication” and that Mertz was almost fired and given a
         25    second chance before “putting in for forced medication meds turned [Plaintiff] into a
         26    zombie.”
         27           It appears that Plaintiff may be asserting that he reported Mertz for some alleged
         28    misconduct and that Mertz retaliated by recommending that Plaintiff receive medications


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          1    by force, but none of that is clear from the allegations. As noted, conclusory and vague
          2    allegations will not support a cause of action. Ivey, 673 F.2d at 268. Nor will the Court
          3    supply essential elements of the claim that were not initially pled. Id. Accordingly,
          4    Defendant Mertz and Count One will be dismissed.
          5           Because Plaintiff has failed to connect a properly named Defendant with any
          6    alleged violation of his constitutional rights, his First Amended Complaint will be
          7    dismissed.
          8    IV.    Motion for Clarification
          9           In Plaintiff’s Motion, he asks if he should get a court order to obtain the names of
         10    the individuals on the forced medication committee. He also asks for the Court to send
         11    him two more complaint forms because the form only has room to list four defendants
         12    and he has approximately 12 defendants to list. Plaintiff’s request for clarification is
         13    granted.
         14           As to Plaintiff’s first request, a court order is not necessary to discover the
         15    identities of any unnamed defendants. First, Plaintiff has failed to state a claim against
         16    any Doe Defendant. Moreover, even if Plaintiff states a claim against a Doe Defendant
         17    in a second amended complaint, he would be able to use the discovery process to obtain
         18    the names of fictitiously named defendants whom he believes violated his constitutional
         19    rights and he could seek leave to amend to name those defendants.
         20           As to Plaintiff’s second request, it is unnecessary to list each additional defendant
         21    in a space on the form. If Plaintiff has more than four defendants to name, he may attach
         22    a separate page and answer the questions listed on the form for each additional defendant.
         23    Plaintiff properly did so in his First Amended Complaint, and he should follow the same
         24    procedure if he files a second amended complaint. In this Order, the Court is directing
         25    the Clerk of Court to send Plaintiff one court-approved form for filing a civil rights
         26    complaint by a prisoner.
         27    ....
         28    ....


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          1    V.     Leave to Amend
          2           For the foregoing reasons, Plaintiff’s First Amended Complaint will be dismissed
          3    for failure to state a claim upon which relief may be granted. Within 30 days, Plaintiff
          4    may submit a second amended complaint to cure the deficiencies outlined above. The
          5    Clerk of Court will mail Plaintiff a court-approved form to use for filing a second
          6    amended complaint. If Plaintiff fails to use the court-approved form, the Court may
          7    strike the second amended complaint and dismiss this action without further notice to
          8    Plaintiff.
          9           If Plaintiff files an amended complaint, Plaintiff must write short, plain statements
         10    telling the Court: (1) the constitutional right Plaintiff believes was violated; (2) the name
         11    of the Defendant who violated the right; (3) exactly what that Defendant did or failed to
         12    do; (4) how the action or inaction of that Defendant is connected to the violation of
         13    Plaintiff’s constitutional right; and (5) what specific injury Plaintiff suffered because of
         14    that Defendant’s conduct. See Rizzo, 423 U.S. at 371-72, 377.
         15           Plaintiff must repeat this process for each person he names as a Defendant. If
         16    Plaintiff fails to affirmatively link the conduct of each named Defendant with the specific
         17    injury suffered by Plaintiff, the allegations against that Defendant will be dismissed for
         18    failure to state a claim.     Conclusory allegations that a Defendant or group of
         19    Defendants has violated a constitutional right are not acceptable and will be
         20    dismissed.
         21           Plaintiff should refer to the Court’s April 22, 2014 Order for the standards to state
         22    claims for denial of medical care, access to the courts, and retaliation.
         23           Plaintiff must clearly designate on the face of the document that it is the “Second
         24    Amended Complaint.” The second amended complaint must be retyped or rewritten in
         25    its entirety on the court-approved form and may not incorporate any part of the original
         26    Complaint or First Amended Complaint by reference. Plaintiff may include only one
         27    claim per count.
         28    ....


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          1           A second amended complaint supersedes the original Complaint and First
          2    Amended Complaint. Ferdik v. Bonzelet, 963 F.2d 1258, 1262 (9th Cir. 1992); Hal
          3    Roach Studios v. Richard Feiner & Co., 896 F.2d 1542, 1546 (9th Cir. 1990). After
          4    amendment, the Court will treat the original Complaint and First Amended Complaint as
          5    nonexistent. Ferdik, 963 F.2d at 1262. Any cause of action that was raised in the
          6    original complaint or first amended complaint and that was voluntarily dismissed or was
          7    dismissed without prejudice is waived if it is not alleged in a second amended complaint.
          8    Lacey v. Maricopa County, 693 F.3d 896, 928 (9th Cir. 2012) (en banc).
          9    VI.    Warnings
         10           A.     Release
         11           Plaintiff must pay the unpaid balance of the filing fee within 120 days of his
         12    release. Also, within 30 days of his release, he must either (1) notify the Court that he
         13    intends to pay the balance or (2) show good cause, in writing, why he cannot. Failure to
         14    comply may result in dismissal of this action.
         15           B.     Address Changes
         16           Plaintiff must file and serve a notice of a change of address in accordance with
         17    Rule 83.3(d) of the Local Rules of Civil Procedure. Plaintiff must not include a motion
         18    for other relief with a notice of change of address. Failure to comply may result in
         19    dismissal of this action.
         20           C.     Copies
         21           Because Plaintiff is currently confined in ASPC-Eyman and this case is subject to
         22    General Order 14-08, Plaintiff is not required to submit an additional copy of every filing
         23    for use by the Court, as would ordinarily be required by Local Rule of Civil Procedure
         24    5.4. If Plaintiff is transferred to a prison other than ASPC-Eyman, he will be notified of
         25    the requirements regarding copies for the Court that are required for inmates whose cases
         26    are not subject to General Order 14-08.
         27    ....
         28    ....


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          1           D.     Possible “Strike”
          2           Because the First Amended Complaint has been dismissed for failure to state a
          3    claim, if Plaintiff fails to file a second amended complaint correcting the deficiencies
          4    identified in this Order, the dismissal may count as a “strike” under the “3-strikes”
          5    provision of 28 U.S.C. § 1915(g). Under the 3-strikes provision, a prisoner may not bring
          6    a civil action or appeal a civil judgment in forma pauperis under 28 U.S.C. § 1915 “if the
          7    prisoner has, on 3 or more prior occasions, while incarcerated or detained in any facility,
          8    brought an action or appeal in a court of the United States that was dismissed on the
          9    grounds that it is frivolous, malicious, or fails to state a claim upon which relief may be
         10    granted, unless the prisoner is under imminent danger of serious physical injury.” 28
         11    U.S.C. § 1915(g).
         12           E.     Possible Dismissal
         13           If Plaintiff fails to timely comply with every provision of this Order, including
         14    these warnings, the Court may dismiss this action without further notice. See Ferdik, 963
         15    F.2d at 1260-61 (a district court may dismiss an action for failure to comply with any
         16    order of the Court).
         17    IT IS ORDERED:
         18           (1)    The First Amended Complaint (Doc. 17) is dismissed for failure to state a
         19    claim. Plaintiff has 30 days from the date this Order is filed to file a second amended
         20    complaint in compliance with this Order.
         21           (2)    If Plaintiff fails to file a second amended complaint within 30 days, the
         22    Clerk of Court must, without further notice, enter a judgment of dismissal of this action
         23    with prejudice that states that the dismissal may count as a “strike” under 28 U.S.C.
         24    § 1915(g).
         25           (3)    Plaintiff’s Motion for Clarification (Doc. 16) is granted as set forth herein.
         26    ....
         27    ....
         28    ....


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          1            (4)    The Clerk of Court must mail Plaintiff a court-approved form for filing a
          2     civil rights complaint by a prisoner.
          3            DATED this 8th day of July, 2014.
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                  Instructions for a Prisoner Filing a Civil Rights Complaint
                 in the United States District Court for the District of Arizona

1. Who May Use This Form. The civil rights complaint form is designed to help incarcerated
persons prepare a complaint seeking relief for a violation of their federal civil rights. These
complaints typically concern, but are not limited to, conditions of confinement. This form
should not be used to challenge your conviction or sentence. If you want to challenge a state
conviction or sentence, you should file a petition under 28 U.S.C. § 2254 for a writ of habeas
corpus by a person in state custody. If you want to challenge a federal conviction or sentence,
you should file a motion under 28 U.S.C. § 2255 to vacate sentence in the federal court that
entered the judgment.

2. The Form. Local Rule of Civil Procedure (LRCiv) 3.4(a) provides that complaints by
incarcerated persons must be filed on the court-approved form. The form must be typed or
neatly handwritten. The form must be completely filled in to the extent applicable. All
questions must be answered clearly and concisely in the appropriate space on the form. If
needed, you may attach additional pages, but no more than fifteen additional pages, of standard
letter-sized paper. You must identify which part of the complaint is being continued and
number all pages. If you do not fill out the form properly, you will be asked to submit additional
or corrected information, which may delay the processing of your action. You do not need to
cite law.

3. Your Signature. You must tell the truth and sign the form. If you make a false statement of
a material fact, you may be prosecuted for perjury.

4. The Filing Fee. The filing fee for this action is $350.00. If you are unable to immediately
pay the filing fee, you may request leave to proceed in forma pauperis. Please review the
“Information for Prisoners Seeking Leave to Proceed with a (Non-Habeas) Civil Action in
Federal Court In Forma Pauperis Pursuant to 28 U.S.C. § 1915” for additional instructions.

5. Original and Judge’s Copy. You must send an original plus one copy of your complaint and
of any other documents submitted to the Court. You must send one additional copy to the Court
if you wish to have a file-stamped copy of the document returned to you. All copies must be
identical to the original. Copies may be legibly handwritten.

6. Where to File. You should file your complaint in the division where you were confined
when your rights were allegedly violated. See LRCiv 5.1(a) and 77.1(a). If you were confined
in Maricopa, Pinal, Yuma, La Paz, or Gila County, file in the Phoenix Division. If you were
confined in Apache, Navajo, Coconino, Mohave, or Yavapai County, file in the Prescott
Division. If you were confined in Pima, Cochise, Santa Cruz, Graham, or Greenlee County, file
in the Tucson Division. Mail the original and one copy of the complaint with the $350 filing
fee or the application to proceed in forma pauperis to:



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       Phoenix & Prescott Divisions:      OR                Tucson Division:
       U.S. District Court Clerk                            U.S. District Court Clerk
       U.S. Courthouse, Suite 130                           U.S. Courthouse, Suite 1500
       401 West Washington Street, SPC 10                   405 West Congress Street
       Phoenix, Arizona 85003-2119                          Tucson, Arizona 85701-5010

7. Change of Address. You must immediately notify the Court and the defendants in writing
of any change in your mailing address. Failure to notify the Court of any change in your
mailing address may result in the dismissal of your case.

8. Certificate of Service. You must furnish the defendants with a copy of any document you
submit to the Court (except the initial complaint and application to proceed in forma pauperis).
Each original document (except the initial complaint and application to proceed in forma
pauperis) must include a certificate of service on the last page of the document stating the date
a copy of the document was mailed to the defendants and the address to which it was mailed.
See Fed. R. Civ. P. 5(a), (d). Any document received by the Court that does not include a
certificate of service may be stricken. A certificate of service should be in the following form:

       I hereby certify that a copy of the foregoing document was mailed
       this                       (month, day, year) to:
       Name:
       Address:
                Attorney for Defendant(s)

       (Signature)

9. Amended Complaint. If you need to change any of the information in the initial complaint,
you must file an amended complaint. The amended complaint must be written on the court-
approved civil rights complaint form. You may file one amended complaint without leave
(permission) of Court before any defendant has answered your original complaint. See Fed. R.
Civ. P. 15(a). After any defendant has filed an answer, you must file a motion for leave to
amend and lodge (submit) a proposed amended complaint. LRCiv 15.1. In addition, an
amended complaint may not incorporate by reference any part of your prior complaint. LRCiv
15.1(a)(2). Any allegations or defendants not included in the amended complaint are
considered dismissed. All amended complaints are subject to screening under the Prison
Litigation Reform Act; screening your amendment will take additional processing time.

10. Exhibits. You should not submit exhibits with the complaint or amended complaint.
Instead, the relevant information should be paraphrased. You should keep the exhibits to use
to support or oppose a motion to dismiss, a motion for summary judgment, or at trial.

11. Letters and Motions. It is generally inappropriate to write a letter to any judge or the staff
of any judge. The only appropriate way to communicate with the Court is by filing a written
pleading or motion.

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12. Completing the Civil Rights Complaint Form.

HEADING:
    1. Your Name. Print your name, prison or inmate number, and institutional mailing
    address on the lines provided.

       2. Defendants. If there are four or fewer defendants, print the name of each. If you
       name more than four defendants, print the name of the first defendant on the first line,
       write the words “and others” on the second line, and attach an additional page listing the
       names of all of the defendants. Insert the additional page after page 1 and number it “1-
       A” at the bottom.

       3. Jury Demand. If you want a jury trial, you must write “JURY TRIAL DEMANDED”
       in the space below “CIVIL RIGHTS COMPLAINT BY A PRISONER.” Failure to do
       so may result in the loss of the right to a jury trial. A jury trial is not available if you are
       seeking only injunctive relief.

Part A. JURISDICTION:
       1. Nature of Suit. Mark whether you are filing the complaint pursuant to 42 U.S.C.
       § 1983 for state, county, or city defendants; “Bivens v. Six Unknown Federal Narcotics
       Agents” for federal defendants; or “other.” If you mark “other,” identify the source of
       that authority.

       2. Location. Identify the institution and city where the alleged violation of your rights
       occurred.

       3. Defendants. Print all of the requested information about each of the defendants in the
       spaces provided. If you are naming more than four defendants, you must provide the
       necessary information about each additional defendant on separate pages labeled “2-A,”
       “2-B,” etc., at the bottom. Insert the additional page(s) immediately behind page 2.

Part B. PREVIOUS LAWSUITS:
        You must identify any other lawsuit you have filed in either state or federal court while
you were a prisoner. Print all of the requested information about each lawsuit in the spaces
provided. If you have filed more than three lawsuits, you must provide the necessary
information about each additional lawsuit on a separate page. Label the page(s) as “2-A,” “2-
B,” etc., at the bottom of the page and insert the additional page(s) immediately behind page 2.

Part C. CAUSE OF ACTION:
       You must identify what rights each defendant violated. The form provides space to
allege three separate counts (one violation per count). If you are alleging more than three
counts, you must provide the necessary information about each additional count on a separate
page. Number the additional pages “5-A,” “5-B,” etc., and insert them immediately behind page
5. Remember that you are limited to a total of fifteen additional pages.

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       1. Counts. You must identify which civil right was violated. You may allege the
       violation of only one civil right per count.

       2. Issue Involved. Check the box that most closely identifies the issue involved in your
       claim. You may check only one box per count. If you check the box marked “Other,”
       you must identify the specific issue involved.

       3. Supporting Facts. After you have identified which civil right was violated, you must
       state the supporting facts. Be as specific as possible. You must state what each
       individual defendant did to violate your rights. If there is more than one defendant, you
       must identify which defendant did what act. You also should state the date(s) on which
       the act(s) occurred, if possible.

       4. Injury. State precisely how you were injured by the alleged violation of your rights.

       5. Administrative Remedies. You must exhaust any available administrative remedies
       before you file a civil rights complaint. See 42 U.S.C. § 1997e. Consequently, you
       should disclose whether you have exhausted the inmate grievance procedures or
       administrative appeals for each count in your complaint. If the grievance procedures
       were not available for any of your counts, fully explain why on the lines provided.

Part D. REQUEST FOR RELIEF:
       Print the relief you are seeking in the space provided.

SIGNATURE:
       You must sign your name and print the date you signed the complaint. Failure to sign
the complaint will delay the processing of your action. Unless you are an attorney, you may not
bring an action on behalf of anyone but yourself.


                                        FINAL NOTE

       You should follow these instructions carefully. Failure to do so may result in your
complaint being stricken or dismissed. All questions must be answered concisely in the proper
space on the form. If you need more space, you may attach no more than fifteen additional
pages. But the form must be completely filled in to the extent applicable. If you attach
additional pages, be sure to identify which section of the complaint is being continued and
number the pages.




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Name and Prisoner/Booking Number


Place of Confinement


Mailing Address


City, State, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)




                                            IN THE UNITED STATES DISTRICT COURT
                                                         FOR THE DISTRICT OF ARIZONA


                                                                                     )
                                                                                   , )
(Full Name of Plaintiff)
                                          Plaintiff,                                 )
                                                                                     )
                                          vs.                                        ) CASE NO.
                                                                                     )            (To be supplied by the Clerk)
(1)                                                                                , )
(Full Name of Defendant)
                                                                                     )
(2)                                                                                , )
                                                                                     )            CIVIL RIGHTS COMPLAINT
(3)                                                                                , )                 BY A PRISONER
                                                                                     )
(4)                                                                                , )   G Original Complaint
                                          Defendant(s).                              )   G First Amended Complaint
G     Check if there are additional Defendants and attach page 1-A listing them.
                                                                                     )   G Second Amended Complaint

                                                                            A. JURISDICTION

1.       This Court has jurisdiction over this action pursuant to:
              G 28 U.S.C. § 1343(a); 42 U.S.C. § 1983
              G 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).
              G Other:                                                                                                            .

2.       Institution/city where violation occurred:                                                                               .



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                                                       B. DEFENDANTS

1.   Name of first Defendant:                                                       . The first Defendant is employed as:
                                                                     at                                                 .
                             (Position and Title)                                                  (Institution)


2.   Name of second Defendant:                                                    . The second Defendant is employed as:
                                                                     at                                               .
                             (Position and Title)                                                  (Institution)


3.   Name of third Defendant:                                                       . The third Defendant is employed as:
                                                                     at                                                 .
                             (Position and Title)                                                  (Institution)


4.   Name of fourth Defendant:                                                     . The fourth Defendant is employed as:
                                                                     at                                                .
                             (Position and Title)                                                  (Institution)


If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.

                                                    C. PREVIOUS LAWSUITS

1.   Have you filed any other lawsuits while you were a prisoner?                      G Yes              G No
2.   If yes, how many lawsuits have you filed?                  . Describe the previous lawsuits:

     a. First prior lawsuit:
          1. Parties:                                  v.
          2. Court and case number:                                                                                          .
          3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)
                                                                                                                             .

     b. Second prior lawsuit:
         1. Parties:                                  v.
         2. Court and case number:                                                                                           .
         3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)
                                                                                                                             .

     c. Third prior lawsuit:
         1. Parties:                                  v.
         2. Court and case number:                                                                                           .
         3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)
                                                                                                                             .

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.


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                                           D. CAUSE OF ACTION

                                                    COUNT I
1.   State the constitutional or other federal civil right that was violated:
                                                                                                            .

2.   Count I. Identify the issue involved. Check only one. State additional issues in separate counts.
     G Basic necessities               G Mail           G Access to the court          G Medical care
     G Disciplinary proceedings        G Property       G Exercise of religion         G Retaliation
     G Excessive force by an officer G Threat to safety G Other:                                            .

3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.




                                                                                                            .

4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).


                                                                                                            .

5.   Administrative Remedies:
     a. Are there any administrative remedies (grievance procedures or administrative appeals) available
        at your institution?                                                                 G Yes G No
     b. Did you submit a request for administrative relief on Count I?                       G Yes G No
     c. Did you appeal your request for relief on Count I to the highest level?              G Yes G No
     d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why
        you did not.
                                                                                                            .

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                                                   COUNT II
1.   State the constitutional or other federal civil right that was violated:
                                                                                                             .

2.   Count II. Identify the issue involved. Check only one. State additional issues in separate counts.
     G Basic necessities               G Mail            G Access to the court         G Medical care
     G Disciplinary proceedings        G Property        G Exercise of religion        G Retaliation
     G Excessive force by an officer G Threat to safety G Other:                                             .

3. Supporting Facts. State as briefly as possible the FACTS supporting Count II. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.




                                                                                                             .

4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).


                                                                                                             .

5.   Administrative Remedies.
     a. Are there any administrative remedies (grievance procedures or administrative appeals) available
        at your institution?                                                                 G Yes G No
     b. Did you submit a request for administrative relief on Count II?                      G Yes G No
     c. Did you appeal your request for relief on Count II to the highest level?             G Yes G No
     d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why
        you did not.
                                                                                                             .

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                                                  COUNT III
1.   State the constitutional or other federal civil right that was violated:
                                                                                                                        .

2.   Count III. Identify the issue involved. Check only one. State additional issues in separate counts.
     G Basic necessities               G Mail            G Access to the court         G Medical care
     G Disciplinary proceedings        G Property        G Exercise of religion        G Retaliation
     G Excessive force by an officer G Threat to safety G Other:                                                        .

3. Supporting Facts. State as briefly as possible the FACTS supporting Count III. Describe exactly what
each Defendant did or did not do that violated your rights. State the facts clearly in your own words without
citing legal authority or arguments.




                                                                                                                        .

4.   Injury. State how you were injured by the actions or inactions of the Defendant(s).


                                                                                                                        .

5.   Administrative Remedies.
     a. Are there any administrative remedies (grievance procedures or administrative appeals) available
        at your institution?                                                                 G Yes G No
     b. Did you submit a request for administrative relief on Count III?                     G Yes G No
     c. Did you appeal your request for relief on Count III to the highest level?            G Yes G No
     d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why
        you did not.
                                                                                                            .

If you assert more than three Counts, answer the questions listed above for each additional Count on a separate page.


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                                        E. REQUEST FOR RELIEF

State the relief you are seeking:




                                                                                                                .


I declare under penalty of perjury that the foregoing is true and correct.

Executed on
                         DATE                                                SIGNATURE OF PLAINTIFF



(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)



(Signature of attorney, if any)




(Attorney’s address & telephone number)


                                           ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space, you may
attach no more than fifteen additional pages. But the form must be completely filled in to the extent
applicable. If you attach additional pages, be sure to identify which section of the complaint is being continued
and number all pages.




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